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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                                                  CRIMINAL ACTION


 VERSUS                                                                                NO. 10-154


 GREGORY MCRAE                                                                        SECTION I

                                     ORDER & REASONS

       The Court has received a motion1 filed by the government to exclude expert witnesses at the

upcoming sentencing hearing. The government moves to exclude testimony by William B. Jansen,

Ph.D., and Rafael Salcedo, Ph.D. (“Salcedo”), contending that defendant failed to comply with

expert disclosure requirements and because the testimony “is irrelevant, repetitive, and will not aid

the Court in its determination of sentence.”2

       In his response, defendant represents that he “will forego calling Dr. Jansen at the re-

sentencing.”3 He also attaches a report summarizing Salcedo’s opinions and a copy of Salcedo’s

CV.4 Defendant intends to offer Salcedo’s testimony “to “establish that Gregory McRae was

suffering from [a] significantly reduced mental capacity from the time he was ordered by his

superior to move the vehicle containing the lifeless body of Henry Glover through his subsequent

burning of the vehicle with Henry Glover’s body inside,” which circumstance purportedly supports

a downward departure pursuant to U.S.S.G. § 5K2.13.5



       1
         R. Doc. No. 1097.
       2
         R. Doc. No. 1097-1, at 1.
       3
         R. Doc. No. 1099, at 3.
       4
         R. Doc. Nos. 1099-1, 1099-2.
       5
         R. Doc. No. 1099, at 1-2.

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       With respect to the government’s argument based on non-disclosure, defendant has now

adequately disclosed the substance of the anticipated testimony.6 With respect to the government’s

relevance argument, the Federal Rules of Evidence do not apply to sentencing. Fed. R. Evid.

1101(d)(3). Although the Court has previously considered and denied a motion for a downward

variance based on U.S.S.G. § 5K2.13,7 under these circumstances the Court finds it appropriate to

allow Salcedo to testify subject to cross-examination by the government. The Court will give such

testimony whatever weight, if any, it warrants.

       Accordingly,

       IT IS ORDERED that the government’s motion is DENIED with respect to Salcedo and

DISMISSED AS MOOT with respect to Jansen.

       New Orleans, Louisiana, January 13, 2016.

                                                      ________________________________
                                                      LANCE M. AFRICK
                                                      UNITED STATES DISTRICT JUDGE




       6
          The government cited Rule 16(b)(1)(C) of the Federal Rules of Criminal Procedure as the
basis of the disclosure obligation. R. Doc. No. 1097-1, at 1 n.1. The plain text of that Rule governs
disclosure “testimony that the defendant intends to use under Rules 702, 703, or 705 of the Federal
Rules of Evidence at trial.” Fed. R. Crim. P. 16(b)(1)(C) (emphasis added). Because defendant has
voluntarily disclosed Salcedo’s testimony, the Court need not decide whether Rule 16(b)(1)(C)
compels disclosure before sentencing, either in general or under the circumstances presented herein.
        7
          R. Doc. No. 1072, at 1-2.

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